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                  SUBJECT TO PROTECTIVE ORDER ENTERED AUGUST 24, 2018
                                 ATTORNEYS’ EYES ONLY
                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/




        DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT AND INCORPORATED
                           MEMORANDUM OF LAW

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                                     PRELIMINARY STATEMENT
           On January 10, 2017, BuzzFeed published what has come to be known as the Dossier,
  which contains explosive allegations about President Trump’s connections to Russia. BuzzFeed
  did so only after CNN had reported to the American public that the Dossier had been briefed to
  two presidents and was being investigated by federal law enforcement agencies. And it did so in
  the context of an article that made it clear to readers that BuzzFeed had not independently
  verified the Dossier’s core allegations. This lawsuit tests whether one individual and his
  companies named in the Dossier have the right to recover for its publication.
           The Court has already held that BuzzFeed would be entitled to the fair report defense if it
  could demonstrate certain facts about official actions involving the Dossier. Defendants have
  now established those facts in the record, and, for this reason, this Court should grant summary
  judgment.
           And that is not the only ground to support summary judgment. BuzzFeed published the
  Dossier within an article that made clear to readers that it was not presenting the contents of the
  Dossier as objective facts, as would be required to support a defamation claim, but rather as
  unproven allegations made in an unfolding political controversy. Summary judgment should be
  granted for this reason, as well. And, even if Defendants could be said to have published facts
  about Plaintiffs, the Plaintiffs are public figures, as Defendants’ companion motion argues. The
  record contains no clear and convincing evidence of actual malice, i.e. that Defendants knew or
  believed that the Dossier’s accusations about Plaintiffs were false. Indeed, even if Plaintiffs
  were private figures, the record leaves no room for genuine dispute that Defendants were neither
  grossly irresponsible (if New York law applies) nor negligent (if Florida law applies) in
  publishing a document so significant that it has been at the epicenter of American political
  debate for almost two years. For any or all of these reasons, Defendants seek summary
  judgment.

                                      STATEMENT OF FACTS
  I.       THE PLAINTIFFS
           Plaintiff Aleksej Gubarev lives in Cyprus, where he moved from Russia in 2002.
  Defendants’ Statement of Undisputed Material Facts (“SUMF”) ¶ 1. Plaintiff XBT Holding S.A.
  (“XBT”) is incorporated and has its principal place of business in Luxembourg. SUMF ¶ 2.
  XBT is the parent holding company for Gubarev’s internet hosting company. Id. Plaintiff


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  Webzilla, Inc. is incorporated in Florida, and, when BuzzFeed published the Dossier and when it
  commenced this lawsuit, had its principal place of business in Texas. SUMF ¶ 3. Webzilla has
  only one Florida employee, who divides his time between Webzilla and his own company, and it
  has a “virtual address” in Florida in a Regus building. Id.
            The Dossier, however, actually refers to “XBT/Webzilla.” Declaration of Katherine M.
  Bolger executed September 21, 2018 (“Bolger Decl.”), Ex. 1 (“Complaint”), Ex. 3 at 35.
  “Webzilla” is a brand name, SUMF ¶ 4, which is used by six “Webzilla” companies incorporated
  around the world, including Plaintiff Webzilla. Id. Plaintiffs themselves often publicly
  described Webzilla as a European company, including in their public relations responses to the
  Dossier. Id. Plaintiffs lease data centers throughout the world; none are in Florida. SUMF ¶ 4.
  Similarly, documents produced by Plaintiffs supposedly supporting their damages concern only
  “Webzilla” entities in Europe. SUMF ¶ 4.
  II.      THE DOSSIER
  A.       The Origin of the Dossier
           For more than two decades, Christopher Steele worked for the United Kingdom’s Foreign
  and Commonwealth Office and then MI6, the U.K.’s equivalent of the CIA, as one of its leading
  Russia experts. SUMF ¶ 6. After Steele retired in 2009 he founded Orbis Business Intelligence
  Service. Id. In 2015-16 Fusion GPS, a private research firm headed by former Wall Street
  Journal reporter Glenn Simpson, was retained to conduct opposition research on Donald Trump
  – first by a Republican client, and then by a law firm working for the Democratic National
  Committee. SUMF ¶ 7. Fusion retained Orbis as a contractor initially to investigate business ties
  between Trump and Russian interests. Id.
           Steele began receiving information from a network of human sources that Russia was
  interfering in the election to support Trump with that campaign’s cooperation, and that Russia
  held compromising information on the candidate. SUMF ¶ 8. Steele testified that he then
  drafted reports in which he only included information he “regarded as credible, and it [was]
  produced to the best of our knowledge and ability to be accurate and true.” SUMF ¶ 9. In
  making that determination, Steele took into account that some sources might try to provide false
  disinformation. Id. Any information included in the resulting reports, therefore, was
  “subject[ed] to scrutiny in respect of this risk” by Steele. Id.



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  B.       The Dossier Becomes the Subject of Multiple Official Actions by the Government
                     1.       The FBI Begins Using Steele’s Reports in an Investigation. As Steele
  began to collect more information about Trump’s Russian connections, he told Fusion that he
  believed “the information he had collected was of urgent national security importance.” SUMF ¶
  11. In July 2016 Steele – “a longtime FBI source” with a record of providing credible
  information, SUMF ¶ 11, shared his initial research with FBI official Michael Gaeta, who Steele
  had previously assisted in the FBI’s investigation of FIFA. Id. From then until at least the end
  of October 2016, Steele provided information to the FBI as he researched the information
  contained in the Dossier. SUMF ¶ 12.
           In July 2016 the FBI opened a counterintelligence investigation into alleged collusion
  between the Trump campaign and Russia. SUMF ¶ 13. By the fall of 2016, the FBI was
  reviewing and attempting to corroborate Steele’s reports. Id. In October 2016, the Justice
  Department used information from Steele’s reports to help obtain a FISA warrant to conduct
  surveillance on Trump advisor Carter Page. SUMF ¶ 15. In its FISA application, the DOJ stated
  that Steele’s prior “reporting has been corroborated and used in criminal proceedings and the FBI
  assesses [Steele] to be reliable.” Id. In October Steele met again with the FBI in Rome, at the
  agency’s invitation, to discuss his research. SUMF ¶ 16. Steele also shared his research with
  Associate Deputy Attorney General Bruce Ohr and the State Department. SUMF ¶ 14.
           On or about November 1, 2016 the FBI “suspended” its relationship with Steele,
  informing him that “it was unlikely that the FBI would continue a relationship” with him because
  Steele had spoken to journalists. SUMF ¶ 17. Yet Steele continued to share information after the
  2016 election with at least one government official, namely Bruce Ohr, to whom Steele provided
  all 16 pre-election memoranda in late November. SUMF ¶ 18. And the FBI continued its “source
  validation report” to assess Steele’s Dossier reports. SUMF ¶ 19.
                     2.       Senator John McCain Procures the Dossier and Provides it to FBI
  Director Comey and Other Government Agencies. The Halifax International Security Forum,
  an annual gathering of national security experts and officials, took place in November 2016.
  SUMF ¶ 20. One attendee was Sir Andrew Wood, a Russia expert who had served as the U.K.’s
  ambassador to Russia and was also an informal adviser to Orbis. Id. Another was David
  Kramer, a trained Russia expert who in the Bush Administration had served as the Deputy
  Assistant Secretary of State responsible for Russia, Ukraine, Belarus and Moldova. SUMF ¶ 21.

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  In 2016, Kramer was a Senior Director at the McCain Institute for International Leadership at
  Arizona State University. Id. Senator John McCain, whom Kramer had known since his time at
  the State Department, also attended the Forum, along with the Senator’s Chief of Staff
  Christopher Brose. SUMF ¶ 22. During the Forum, Wood told Kramer, Senator McCain and
  Brose that he was aware of information collected by Steele that suggested both that there was
  collusion between Russia and the Trump Campaign and also that Russia had compromising
  information on President-elect Trump. SUMF ¶ 23. Senator McCain asked Kramer to go to
  London to meet with Steele, which he did on November 28. SUMF ¶ 24.
           During the meeting, Kramer read the 16 memos Steele had written, learned of Steele’s
  methods and who his sources were, some of whom he recognized as “serious” and “high-level.”
  SUMF ¶ 25. Kramer “was impressed with his [Steele’s] knowledge and analysis.” Id. Steele
  gave Kramer the impression that some of the information was fully verified, while some needed
  to be further corroborated to be verified. SUMF ¶ 26. Steele asked Kramer to give the memos to
  Senator McCain to give the FBI “an additional prod to take this seriously.” SUMF ¶ 27.
           Kramer then obtained the first 16 of the reports that would come to be known as the
  Dossier from Glenn Simpson. SUMF ¶ 28. Fusion provided it to Kramer because they
  understood him to be “the personal representative of Senator McCain.” SUMF ¶ 35. On
  November 30 Kramer met with the Senator and Brose, and the Senator read Steele’s reports.
  SUMF ¶ 28. Kramer told them he found Steele to be “credible and believable” and that if the
  reports “were true and we did nothing with it history would not look kindly on us.” SUMF ¶ 29.
  He advised the Senator to share the memos with the FBI and CIA. Id.
           Senator McCain asked Kramer to meet with Victoria Nuland, the Assistant Secretary of
  State for Europe and Eurasia Affairs, to see if the Dossier “was being taken seriously” in the
  government as a “kind of due diligence before he went to Director Comey.” SUMF ¶ 30.
  Kramer did, and also met separately with Celeste Wallender, then the Senior Director for
  Russian Affairs at the National Security Council, for the same purpose. Id. Each was aware of
  the Dossier and “vouched for Steele’s bona fides”, saying that “his reputation was strong.” Id.
  On December 9 Senator McCain then met personally with Director Comey, and gave him the
  first 33 pages of the Dossier. SUMF ¶ 31.




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                     3.       Report No. 166 Goes to the FBI and Other Government Agencies.
  After the election Steele continued to receive information about Trump’s connections to Russia.
  SUMF ¶ 31. On December 13, 2016, Steele wrote a final report, No. 166, which provided more
  details about the last two pre-election reports (Nos. 134 and 135), which had focused on a
  meeting that Trump’s personal lawyer, Michael Cohen, allegedly had in Prague. Id. Among
  other things, Report No. 166 said that “XBT/Webzilla and its affiliates” and “entities linked to
  one Aleksei GUBAROV” [sic] were involved in the “altering operations against the Democratic
  Party leadership” that Cohen was allegedly trying to conceal. Compl., Ex. 3 at 34-35. Steele
  testified that he applied the same standards to assess that information’s credibility as he did with
  everything else he included in the Dossier. SUMF ¶ 32.
           Steele, however, did not write Report No. 166 for any client. SUMF ¶ 33. Rather, Steele
  testified that he wrote it expressly to be given to the FBI because “I judged it had national
  security implications for the United States and the West as a whole” and he understood Senator
  McCain was in a position to provide it to Director Comey. Id. Steele understood that Kramer
  was “the nominated intermediary of Senator McCain”, SUMF ¶ 34, and so he called Kramer and
  sent Report No. 166 to him, again via Fusion, to deliver to Senator McCain. Id. Steele also gave
  it to the British government. SUMF ¶ 36.
           The Senate, however, was in holiday recess and the Dossier was published before Kramer
  was able to deliver Report No. 166 to Senator McCain. Bolger Decl. Ex. 13 (Kramer
  Deposition) at 106:11-19, 118:18-22. In the meantime, Kramer met again with Wallender at the
  National Security Council and gave her a copy of the Dossier, including Report No. 166. SUMF
  ¶ 37. Kramer also thought it important to meet with someone from the House of Representatives
  in addition to a Senator, and so in early January he met with Rep. Adam Kinzinger (R-Ill.) to
  brief him and give him the full 35 pages. SUMF ¶ 38. Kramer also met with House Speaker
  Paul Ryan’s Chief of Staff, John Burks, and showed him the full document. SUMF ¶ 39. E.W.
  Priestap, the Assistant Director of the FBI’s Counterintelligence Division, has confirmed that the
  FBI also received Report No. 166, before it was published by BuzzFeed. SUMF ¶ 40.1

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    The FBI was compelled to produce the Priestap Declaration specifically to provide discovery
  regarding facts the Court identified in its June 4 Decision as material to establishing the fair
  report privilege. Dkt. 186-6 at 11-13. Fusion also believes, but cannot recall for certain, that it
  provided Report No. 166 to Bruce Ohr before it was published. Bolger Decl. Ex. 17 (Fusion
  Deposition) at 156:12-158:12.

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  C.       Two United States Presidents are Briefed on the Dossier
           In December 2016 President Obama instructed then-Director of National Intelligence
  James Clapper to conduct an inter-agency assessment of Russian interference in the election,
  which included the CIA, FBI and NSA. SUMF ¶ 41. On January 5, 2017 the resulting classified
  Intelligence Community Assessment (“ICA”) was shared with President Obama, and a public
  version was released on January 6, 2017. SUMF ¶ 42. Attached to the classified ICA was a
  two-page synopsis of “allegations derived from a 35 page Dossier” as subsequently published by
  BuzzFeed. Id.; see, e.g., Bolger Decl. Ex. 33 (Report of House Permanent Select Committee on
  Intelligence (“HPSCI Report”)) at 110 n.47 (stating that “NSA Director Rogers clarified that, in
  late December 2016, a two-page summary of the Steele dossier was ‘added’ as an ‘Appendix to
  the ICA draft’”). NSA Chief Michael Rogers described the two-page summary as “part of the
  overall ICA review/approval process.” SUMF ¶ 43.
           The same day, Clapper and/or the Directors of the FBI, CIA and NSA briefed President
  Obama about the Dossier. SUMF ¶ 44; see, e.g., HPSCI Report at 107 (“[I]n early January
  2017…IC leaders briefed President Obama and President-elect Trump, on ‘the Christopher
  Steele Information’”); see also Bolger Decl., Ex. 8 (FBI Declaration) ¶ 6(c) (confirming that
  “Mr. Clapper, Mr. Rogers, Mr. Brennan and/or Mr. Comey, before January 10, 2017, brief[ed]
  President Obama about allegations contained in the Dossier.”). On January 6, Director Comey
  briefed Trump on “a summary of the Steele Dossier,” and provided him with the two-page
  synopsis. SUMF ¶ 45; see, e.g., HSPCI Report at 104 (“President-elect Trump was indeed
  briefed on the contents of the Steele dossier”). And, in early January 2017, the FBI applied to
  renew the FISA warrant regarding Carter Page and stated that it continued to find Steele reliable,
  “notwithstanding the suspension of its relationship” with him. SUMF ¶ 46.
  III.     BUZZFEED INVESTIGATES AND PUBLISHES THE DOSSIER
  A.          BuzzFeed Obtains the Dossier
           In early December 2016, BuzzFeed investigative reporter Ken Bensinger first learned
  from sources of reports written by Christopher Steele about President-elect Trump and Russia
  and that those reports were being investigated by the FBI. SUMF ¶ 47. Bensinger was familiar
  with Steele and thought him to be a source of highly credible information. Id. Bensinger tried to
  obtain a copy of the reports, but was unsuccessful until BuzzFeed editor-in-chief Ben Smith
  learned that David Kramer may have a copy. Id.

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           On December 29 Bensinger met with Kramer at the McCain Institute. Kramer told
  Bensinger what he knew about the Dossier, including that Steele was the author and that Senator
  McCain had given it to the FBI. SUMF ¶ 48. Kramer told Bensinger that he took the allegations
  “seriously” due to “Mr. Steele’s bona fides, based on my understanding of Russian behavior
  under the Putin regime, and questions about comments made by [Trump] during the
  campaign…” Id. Bensinger found Kramer to be a serious and credible Russia expert. Id.
  Kramer gave Bensinger a copy of the Dossier – all 17 memos including Report No. 166 – to take
  with him, and did the same with several other journalists. SUMF ¶¶ 49, 51.2 He told Bensinger
  that the document was “sensitive” and that “some of the information was unverified.” SUMF ¶
  50.
  B.         BuzzFeed’s Investigation of the Dossier
           Upon receiving the Dossier, Bensinger phoned Mark Schoofs, BuzzFeed’s senior editor
  in charge of investigative reporting. SUMF ¶ 52. Schoofs concluded that BuzzFeed should
  investigate a few of the specific allegations in the Dossier that he thought might be possible to
  verify, including Michael Cohen’s alleged trip to Prague and allegations about pension payments
  to Russian emigres. Id. More than a half-dozen journalists were involved in varying degrees in
  the investigation, including one who traveled to Prague to try to see if any hotel might have a
  record of Michael Cohen staying there. SUMF ¶ 53. At that point BuzzFeed had no plans to
  publish the Dossier, in whole or in part, while it continued investigating. SUMF ¶ 54.
  C.       CNN Reports About the Briefings and BuzzFeed Publishes the Dossier
           On January 10, 2017, however, CNN reported that the two-page synopsis had been
  briefed to two presidents and the Dossier was being investigated by the FBI. SUMF ¶ 55. The
  CNN report revealed that the Dossier was influencing government actions related to the Russia
  controversy at the highest level. After consulting with several BuzzFeed senior editors and
  Bensinger, Smith decided that it was now time to publish the documents. SUMF ¶ 56.
           When they made that decision, none of the BuzzFeed journalists involved knew or had
  any degree of awareness – let alone a “high degree” of awareness – that the allegations about

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    Kramer and Bensinger have different recollections regarding whether Kramer allowed
  Bensinger to take a physical copy of the Dossier (Kramer’s recollection – see Bolger Decl., Ex 7
  (Declaration of David Kramer) ¶ 3) or a picture of each page with his cellphone (Bensinger’s
  recollection, see Bolger Decl., Ex. 3 (Declaration of Ken Bensinger) ¶19). There is no material
  difference between the paper and digital file.

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  Plaintiffs on the Dossier’s last page were false, or harbored “serious doubts” about that. SUMF ¶
  57. The journalists knew that a key allegation in the Dossier – that Russia was behind the
  cyberattacks on the Democratic party leadership – had been publicly confirmed by U.S.
  intelligence agencies, and that Steele had apparently managed to learn those facts many months
  before Western intelligence agencies. The allegations against Plaintiffs simply filled in a few
  details about that hacking operation. SUMF ¶ 58(a). BuzzFeed’s journalists also thought that
  Michael Cohen’s alleged role, including setting up payments for persons involved, was
  consistent with the “fixer” role he had long performed for Donald Trump. SUMF ¶ 58(c).
           Several of the BuzzFeed journalists were also familiar with Steele and his reputation for
  gathering accurate intelligence. SUMF ¶ 58(d). They also knew Senator McCain had taken the
  Dossier to Director Comey, which indicated that a well-respected Senator (and his
  representative, Mr. Kramer) took it seriously. SUMF ¶ 58(f). Moreover, the CNN report
  suggested to them that law enforcement was taking the Dossier seriously as well. SUMF ¶ 58(g).
           Notwithstanding his personal views as to the Dossier’s truth, however, Smith recognized
  that those allegations of collusion and compromise were unproven, which could lead some
  readers to reasonably doubt their veracity. SUMF ¶ 59. So BuzzFeed published the Dossier as a
  PDF embedded within an article entitled These Reports Allege Trump Has Deep Ties to Russia
  (the “Article”). SUMF ¶ 60. The Article focused their story on the Dossier itself – what it was
  and how it had come to play an important role in government activity. Compl. Exs. 2-3.
               The Article explained that “CNN reported Tuesday that a two-page synopsis of the
  report was given to President Obama and Trump”, included prominent hyperlinks to the CNN
  story and made clear that the Dossier had been the subject of official government actions:
           x     The Article reported that “CNN reported Tuesday that a two-page synopsis of the
                 report was given to President Obama and Trump.” SUMF ¶ 63.
           x     The words “CNN reported” were a hyperlink to the CNN Article, id., which included
                 the following statements:
                     o  “The allegations were presented to Obama and Trump in a two-page synopsis
                       that was appended to a report on Russian interference in the 2016 election.”
                       Bolger Decl., Ex. 2 (Declaration of Ben Smith) Ex. 1.
                     o “The FBI is investigating the credibility and accuracy of these allegations,
                       which are based primarily on information from Russian sources, but has not
                       confirmed many essential details in the memos about Mr. Trump.” Id.
                     o “The classified briefings last week were presented by four of the senior-most
                       US intelligence chiefs – Director of National Intelligence James Clapper, FBI

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                          Director James Comey, CIA Director John Brennan, and NSA Director
                          Admiral Mike Rogers.” Id.

            x    The Article further reported that “CNN reported Tuesday that Arizona Republican
                 John McCain gave a ‘full copy’ of the memos to Comey on Dec. 9, but that the FBI
                 already had copies of many of the memos.” Compl. Ex. 2
            The Article summarized the Dossier as containing “allegations that the Russian
   government has been “‘cultivating, supporting and assisting’ President-elect Donald Trump for
   years and gained compromising information about him” and “allegations of contact between
   Trump aides and Russian operatives, and graphic claims of sexual acts documented by the
   Russians.” Id. The Article repeated four times that those core allegations were “unverified”;
   explained that BuzzFeed “ha[d] been investigating various alleged facts in the Dossier but have
   not verified or falsified them”, and that “[n]ow BuzzFeed News is publishing the full document
   so that Americans can make up their own minds about allegations about the president-elect that
   have circulated at the highest levels of the US government.” Id.
            Finally, the Article pointed out factual errors in details in the Dossier. Id. While none of
   the mistakes spoke to the core allegations of collusion and kompromat, the Article nonetheless
   reported that “[the Dossier] is not just unconfirmed: It includes some clear errors” and noted a
   couple of examples. Id. Shortly after it was published, the Article added statements from
   President Trump, Kellyanne Conway, and Michael Cohen denying the Dossier’s claims. Id.;
   SUMF ¶ 62.
            Both Fusion and David Kramer were unhappy that BuzzFeed had published the
   document, because they were concerned for the safety of Steele’s sources. SUMF ¶ 63.
   BuzzFeed then redacted information pertaining to one source in the Dossier. Id.3
                                              ARGUMENT
            This Court should grant summary judgment because the record establishes that the
   “official actions” described in the Article actually occurred and Defendants are, therefore,
   entitled to invoke the fair report defense. Summary judgment should also be granted because the
   Defendants made no defamatory statements of fact about Plaintiffs. In the alternative, summary
   judgment should be granted because Plaintiffs have not established that Defendants acted with

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     BuzzFeed also redacted the name of Cohen’s father-in-law, because he was not alleged to have
   played any role in the events described in the Dossier. Bolger Decl. Ex. 59 (Smith Declaration)
   at 67:17-25, 112:21-113:8.

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   the constitutionally required level of fault.
            At bottom, to argue that a triable issue of fact exists as to whether publishing the Dossier
   was a tort is tantamount to asserting that the American public should, to this day, be ignorant
   about the text of a document that has been at the epicenter of government activity and public
   debate for almost two years. This is inconsistent with our “profound national commitment to the
   principle that debate on public issues should be uninhibited, robust, and wide-open.” N.Y. Times
   v. Sullivan, 376 U.S. 254, 270 (1964).
   I.       DEFENDANTS’ PUBLICATION IS PRIVILEGED AS A FAIR REPORT
            A.        Defendants Published a “Report” of an “Official Proceeding”
            This Court should grant summary judgment because the publication of the Dossier is
   absolutely privileged pursuant to New York Civil Rights Law § 74, New York’s fair report
   privilege. In its June 4 ruling, this Court held that New York law applies to Defendants’ fair
   report privilege affirmative defense. Dkt. 171 at 5-10. Specifically, this Court held that (1) “A
   confidential briefing to the President and the President-elect by the four most senior intelligence
   directors in the country” and (2) “an FBI investigation into the truth of the Dossier’s allegations”
   would, if established by the record facts, constitute “official proceedings” for purposes of New
   York’s statutory privilege. Id. at 15-16. The Court also held that while the text of the Article
   itself would not permit an ordinary reader to understand that the Dossier was subject to those
   proceedings, its conspicuous hyperlink to the CNN report satisfies that requirement. Id. at 16-
   18.4 Finally, the Court held that while the official actions described in the Article and
   hyperlinks do relate to the specific allegations against Plaintiffs, even if they did not, “it would
   undermine the privilege to require that one who reports on official action tie every specific
   allegation in the report to a specific instance of official action.” Id. at 18-19. Thus, the Court
   held that Defendants were entitled to invoke the fair report privilege if they were able to establish
   that “the official actions described in the CNN article (the classified briefings and FBI
   investigation) actually occurred.” Id. at 18-19. Discovery – including the declaration from the
   FBI provided in response to Defendants’ motion to compel the government – has now
   established that these official actions did, in fact, occur.
            First, as to the classified briefings: Leaders of the Intelligence Community briefed

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    Solely in the event that it may be necessary to preserve the issue, Defendants continue to
   maintain that the Article alone would also suffice under New York law.

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   President Obama on January 5, 2017 regarding allegations in the Dossier. SUMF ¶ 44 (citing
   FBI Declaration). The next day Director Comey separately briefed President-elect Trump on the
   Dossier. SUMF ¶ 45. Moreover, both Obama and Trump were provided a two-page synopsis of
   the Dossier as part of those briefings. SUMF ¶¶ 42, 45. And a key official at the National
   Security Council responsible for Russia matters also received and was briefed on the full Dossier
   prior to its publication, as was at least one member of Congress and the Speaker of House’s
   Chief of Staff. SUMF ¶¶ 37-39.
            Second, as to an FBI investigation: There was an FBI counterintelligence investigation
   that began in July 2016 and included evaluating the accuracy of Steele’s reports. SUMF ¶¶ 13-
   19. The FBI found some of the Dossier sufficiently credible to be part of the basis for a FISA
   warrant. SUMF ¶ 15. Steele and FBI officials also met at least twice in person. SUMF ¶¶ 11,
   16. Steele functioned as a formal FBI source through October 2016, and even after that
   relationship ended, the FBI continued to conduct a “source validation report” of the Dossier.
   SUMF ¶¶ 12, 19. The FBI also relied on information in the Dossier to renew the FISA warrant
   in early January 2017 and thereafter, and it also obtained Report No. 166. SUMF ¶¶ 40, 46.
   And finally, although not material pursuant to this Court’s rulings, it is in any event undisputed
   that the FBI and the National Security Council obtained the full 35 pages that BuzzFeed
   eventually published, including Report No. 166 that forms the basis for Plaintiffs’ Complaint.
   SUMF ¶ 37, 40 (citing FBI Declaration). Thus, the undisputed record conclusively establishes
   exactly what this Court held that it must in order for Defendants to prevail – that the “official
   activities described in the” hyperlink in BuzzFeed’s Article actually occurred. The Article,
   including the embedded Dossier, was therefore as a matter of law a privileged “report” of an
   “official proceeding” pursuant to Section 74 of the New York Civil Rights Law.
            B.        Defendants’ Report Was “Fair and True”
              This Court also indicated that Defendants satisfied the final element of the privilege,
   that the report be a “fair and true” account of official proceedings. Dkt. 171 at 19. That element
   is satisfied so long as the report is a “fair” and “substantially accurate” account. Holy Spirit
   Ass’n for Unification of World Christianity v. N.Y. Times Co., 49 N.Y.2d 63 (1979). Literal
   accuracy is not required; rather, “newspaper accounts of legislative or other official proceedings
   must be accorded some degree of liberality.” Id. at 68. In Holy Spirit, a case that also involved a
   press report about intelligence reports, the New York Court of Appeals found that element

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   satisfied because:
            the newspaper articles here at issue neither assigned to the intelligence reports
            allegations not contained in those documents, nor added, by virtue of word usage
            or otherwise, greater credence to those documents than was appropriate
            considering their nature as unverified and unevaluated claims linking appellant to
            Korean influences.
   Id. at 67-68. The same is true here. As this Court has already found, “[w]ithout editorializing,
   the Article accurately reproduces the Dossier,” albeit with some names redacted. Dkt. 171 at 14.
   The record only confirms this conclusion was correct and makes clear that the “Dossier”
   published by Defendants was materially the same “Dossier” that was the subject of the official
   actions the Article described. Assistant FBI Director Priestap affirms that any minor differences
   in redactions, etc. are “non-substantive.” Bolger Decl. Ex. 8 (FBI Declaration) ¶ 4. Thus, the
   summary judgment record establishes that Defendants’ publication was nothing “other than a fair
   and true report of an official proceeding.” Dkt. 171 at 18.5 It is, therefore, absolutely privileged,
   and summary judgment should be granted.
   II.      BUZZFEED MADE NO DEFAMATORY ACCUSATIONS ABOUT PLAINTIFFS
            In addition, by publishing the Dossier within the context of the Article, Defendants did
   not publish any “defamatory statement of fact about the plaintiff”, as New York and Florida law
   both require. Celle v. Filipino Reporter Enterprises Inc., 209 F.3d 163, 176 (2d Cir. 2000);
   Keller v. Miami Herald Publ’g Co., 778 F.2d 711, 714 (11th Cir. 1985). Whether words are
   capable of bearing a defamatory meaning is “a legal question to be resolved by the courts in the
   first instance.” Celle, 209 F.3d at 176; Keller, 778 F.2d at 714. Importantly, the court must
   consider the statements in the context of the publication as a whole. Dillon v. City of N.Y., 261
   A.D.2d 34, 38 (N.Y. App. 1999); Byrd v. Hustler Magazine, 433 So.2d 593 (Fla. 4th DCA
   1983).

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     In the alternative, summary judgment would be warranted if Florida law were applied, for the
   same reasons set forth in previous briefing by Defendants, Dkt. 133 at 9-10, as applied to the
   record here. Defendants recognize that the Court ruled otherwise, but renew that argument to
   preserve it. In addition, the record now supports other reasons for applying the Florida privilege.
   All parties agree that the Florida privilege would apply to information received from
   “government officials.” See Dkt. 115 at 6-7. While not a government employee, David Kramer
   was functioning as a private emissary for Senator McCain. Moreover, an official, two-page
   summary of the Dossier was prepared and Steele functioned as an FBI source while he wrote the
   underlying reports. In these circumstances, Florida would deem the Dossier to have become a
   “government document” for these purposes.

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             It is well-settled that raising questions, without providing answers, is not a “defamatory
   statement of fact” – rather, it “indicate[s] a defendant’s ‘lack of definitive knowledge about the
   issue.’” Abbas v. Foreign Policy Grp., LLC, 783 F.3d 1328, 1338 (D.C. Cir. 2015). As a result,
   a question is only defamatory if it can “be reasonably read as an assertion of a false [and
   defamatory] fact; inquiry itself, however embarrassing or unpleasant to its subject, is not
   accusation.” Chapin v. Knight-Ridder, Inc., 993 F.2d 1087, 1094 (4th Cir. 1994) (emphasis
   added). In Chapin, the Fourth Circuit affirmed dismissal of a libel claim arising out of an article
   that “pointedly questioned the finances” of the plaintiff’s charity. Id. at 1091. The Court held
   the article was not defamatory because it “advances alternative answers to the questions it raises,
   presenting both favorable and unfavorable views, but does not ultimately adopt any particular
   answer as correct. From this, a reasonable reader would not be likely to conclude that one
   answer is true and the other false.” Id. at 1098.6
             Here too, the Article cannot be read to accuse Plaintiffs, or any of the persons discussed
   in the Dossier, of actually engaging in the conduct the Dossier describes. To the contrary, the
   Article provides much more than a question mark to “indicate [Defendants’] lack of definitive
   knowledge about the issue.” Abbas, 783 F.3d 1328. The Article repeatedly refers to the Dossier
   as “unverified” and “unconfirmed”; it points out “some clear errors” in it; and it tells readers that
   the document was “prepared for political opponents” of Donald Trump. Compl. Ex. 2. It is a
   paradigmatic example of a “story constructed around questions, not conclusions,” which “does
   not ultimately adopt any particular answer as correct.” Chapin, 993 F.2d at 1098. Thus, as a
   matter of law, Defendants did not assert or imply that Plaintiffs actually engaged in any cyber-
   crimes.
   III.      SUMMARY JUDGMENT IS WARRANTED ON THE ELEMENT OF FAULT
             A.       There Is No Clear And Convincing Evidence of Actual Malice
             Even if the Defendants could be said to have stated facts about Plaintiffs, there is no clear
   and convincing evidence that Defendants disbelieved those facts. Public figures, like the
   Plaintiffs, must prove by clear and convincing evidence that an allegedly defamatory statement
   was published with “actual malice.” Gertz v. Robert Welch, Inc., 418 U.S. 323 (1974). This

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     See also Janklow v. Newsweek, Inc., 759 F.2d 644, 649 (8th Cir. 1985); Beverly Hills
   Foodland, Inc. v. United Food and Commercial Workers Union, Local 655, 39 F.3d 191, 195
   (8th Cir. 1994); Deripaska v. Assoc. Press, 282 F. Supp. 3d 133, 145 (D.D.C. 2017); Orr v.
   Lynch, 60 A.D.2d 949, 950 (N.Y. App. 1978), aff’d, 45 N.Y.2d 903 (1978) .

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   standard applies now, at summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
   255-56 (1986) (“the appropriate summary judgment question [is] whether the evidence in the
   record could support a reasonable jury finding either that the plaintiff has shown actual malice by
   clear and convincing evidence or that the plaintiff has not”). “Actual malice” is a term of art in
   defamation law. It does not mean common-law malice in the sense of ill will or spite, but rather
   it means knowledge of falsity or reckless disregard for the truth. Sullivan, 376 U.S. at 279-80.
   Moreover, “reckless disregard” does not mean recklessness in the typical objective sense of gross
   negligence. Like knowledge of falsity, it is a purely “subjective test” that addresses the
   defendant’s state of mind. Turner v. Wells, 879 F.3d 1254, 1273 (11th Cir. 2018). Essentially,
   “reckless disregard” means that the defendant actually, subjectively believed that a statement
   was very likely false, but went ahead and published it anyway. Id. (“This is a subjective test,
   focusing on whether the defendant ‘actually entertained serious doubts as to the veracity of the
   published account, or was highly aware that the account was probably false.’”); Sullivan, 376
   U.S. at 280. Thus, neither “a failure to investigate” nor “a departure from reasonable journalistic
   standards” constitutes actual malice. Michel v. NYP Holdings, Inc., 816 F.3d 686, 703 (11th Cir.
   2016).
            Moreover, when dealing with a large work like the Dossier, it does not suffice to
   demonstrate that Defendants disbelieved some fact somewhere within the 35-page document.
   The Article makes clear there were some errors. Rather, Plaintiffs’ burden is to prove
   that specific allegedly defamatory statements [about them] were made with actual malice.”
   Schiller v. Viacom, Inc., 2016 WL 9280239, at *8 (S.D. Fla. Apr. 4, 2016) (emphasis in original).
   This standard is so high that, in reviewing defamation cases against media defendants brought by
   public figures, the Eleventh Circuit last found a triable issue of fact in 1983.7

   7
     See Michel, 816 F.3d 686 (affirming dismissal of complaint for failure to plausibly plead actual
   malice); Klayman v. City Pages, 650 F. App’x. 744 (11th Cir. 2016) (affirming summary
   judgment); Levan v. Capital Cities/ABC, Inc., 190 F.3d 1230 (11th Cir. 1999) (reversing trial
   court judgment and entering judgment for defendant); Meisler v. Gannett Co., Inc., 12 F.3d 1026
   (11th Cir. 1994) (affirming summary judgment); Silvester v. Am. Broad. Companies, Inc., 839
   F.2d 1491(11th Cir. 1988) (affirming summary judgment). Cf. Hunt v. Liberty Lobby, 720 F.2d
   631 (11th Cir. 1983). The results of more recent cases against non-media defendants are similar.
   See, e.g., Turner, 879 F.3d 1254 (affirming dismissal for failure to plausibly allege actual
   malice); Edward Lewis Tobinick MD v. Novella, 848 F.3d 935 (11th Cir. 2017) (granting an anti-
   SLAPP motion); Dunn v. Airline Pilots Ass’n, 193 F.3d 1185 (11th Cir. 1999) (affirming
   summary judgment for defendant).

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            Applying this exacting standard to the record here, the journalists involved in publishing
   the Article all affirm they thought the allegations about Plaintiffs were credible, plausible and
   consistent with other information they knew. SUMF ¶ 58. Such “professions of good faith”
   require the entry of summary judgment, unless Plaintiffs produce clear and compelling evidence
   that:
             …a story is fabricated by the defendant, is the product of his imagination, or is
             based wholly on an unverified anonymous telephone call…[or] the publisher's
             allegations are so inherently improbable that only a reckless man would have put
             them in circulation. Likewise, recklessness may be found where there are obvious
             reasons to doubt the veracity of the informant or the accuracy of his reports.
   Michel, 826 F.3d at 703 (quoting St. Amant v. Thompson, 390 U.S. 727, 732 (1968)). In
   addition, reckless disregard may sometimes be inferred if there is “some showing that the
   defendant purposefully avoided further investigation with the intent to avoid the truth.” Id.
            The record here contains no such evidence. Far from fabricating or imagining the
   allegations against Plaintiffs, Defendants did not even write them. Nor were they based on an
   unverified anonymous phone call. Steele was well-known to Defendants, other well-regarded
   persons took Steele’s allegations seriously, and they were set out in writing within 35 detailed
   pages. Nor were the allegations about Plaintiffs “inherently improbable” or suggest “obvious
   reasons” to doubt a well-respected Russia expert. To the contrary, the specific statements about
   Plaintiffs were details within Steele’s larger description of a cyber operation whose basic outline
   had been established by early January 2017, including that Russia had used “third-party
   intermediaries” to hack emails to promote Donald Trump’s election. HSCPI Report at 2; see
   also SUMF ¶ 58(a).
            Nor is there any evidence that Defendants intended to “avoid the truth.” To the contrary,
   BuzzFeed did not publish the Dossier for two weeks because it was making substantial efforts to
   investigate some of its allegations. It was only after CNN reported that the Dossier was part of
   official government actions that BuzzFeed chose to publish it. And when BuzzFeed published
   the document it took care not to present the Dossier as established fact, invited readers to draw
   their own conclusions, and provided information that could cause readers to doubt Steele’s main
   theses. The Eleventh Circuit has been explicit that this kind of behavior cannot be considered
   acting with actual malice:
            Moreover, where the publisher includes information contrary to the general
            conclusions reached in an article, that showing tends to undermine the claims of

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            malice. For example, where a news report informed its audience that its primary
            source was “not an unimpeachable source of information,” it served to undermine
            claims showing that the report was issued with actual malice. Similarly, where a
            magazine article cast doubt on its primary source by quoting other individuals
            calling the source a “liar” and a “con man,” but explaining why the magazine
            chose to rely on the source anyway, the plaintiff had not proven actual malice.
            The reasoning behind the rule is simple. Where a publisher gives readers
            sufficient information to weigh for themselves the likelihood of an article's
            veracity, it reduces the risk that readers will reach unfair (or simply incorrect)
            conclusions, even if the publisher itself has.
   Michel, 816 F.3d at 703 (citations omitted).8 Summary judgment is warranted on the
   issue of actual malice.
            B.        Alternatively, Plaintiffs Cannot Establish the Standard of Fault Required
                      For Private Figures
            Even if Plaintiffs were deemed to be private figures, the result should be no different. As
   long as states do not impose liability without fault, “the States may define for themselves the
   appropriate standard of liability for a publisher or broadcaster of defamatory falsehood” about a
   private figure. Gertz, 481 U.S. at 347. Under Florida law, the standard is ordinary negligence.
   Miami Herald Publ’g Co. v. Ane, 458 So. 2d 239, 241-42 (Fla. 1984). Nonetheless, Florida
   courts have emphasized that on the issue of negligence “summary judgment is especially
   appropriate in libel cases where the facts are not essentially in dispute because of the chilling
   effect of libel suits upon First Amendment freedoms.” Karp v. Miami Herald Publ’g Co., 359
   So.2d 580, 581 (Fla. 3d DCA 1978). Other courts have likewise granted summary judgment on a
   negligence standard. See, e.g., Walker v. City of Oklahoma City, 2000 U.S. App. LEXIS 1677
   (10th Cir. Feb. 7, 2000); Brown v. Hearst Corp., 54 F.3d 21 (1st Cir. 1995). For the reasons
   discussed below, infra at 18-20, Defendants submit that summary judgment is warranted if
   Florida law were applied to the element of fault.
             If, however, the Court disagrees, then “there is a true conflict between” New York and

   8
     See also Klayman, 650 F. App’x at 750 (“Evidence that an article contains information that
   readers can use to verify its content tends to undermine claims of actual malice.”); Chandok v.
   Klessig, 632 F.3d 803, 815 (2d Cir. 2011) (“there is a critical difference between not knowing
   whether something is true and being highly aware that it is probably false. Only the latter
   establishes reckless disregard in a defamation action.”); Biro v. Conde Nast, 963 F. Supp. 2d
   255, 287–88 (S.D.N.Y. 2013), aff'd, 807 F.3d 541 (2d Cir. 2015) (article that does “not actually
   assert that [the plaintiff was a forger], but only quoted people who raised questions about the
   issue… and allows the reader to make up his or her own mind…is far from what might be
   expected of an author acting with actual malice.”).

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   Florida law. See Dkt. 171 at 5. Under New York law if the defendant’s publication is “arguably
   within the sphere of legitimate public concern,” a private figure must prove that the defendant
   acted with “gross irresponsibility.” Chapadeau v. Utica Observer-Dispatch, 38 N.Y.2d 196,
   199, (N.Y. 1975). That standard is “more severe than ordinary negligence.” Virelli v. Goodson-
   Todman Enterprises, Ltd., 159 A.D.2d 23, 25 (N.Y. App. 1990). Here, no reasonable jury could
   find that it was “grossly irresponsible” to publish the Dossier, including Report No. 166.
                      1.        New York Law Applies To The Element of Fault
            This Court has already set out the legal framework for the choice of law analysis here.
   Dkt. 171 at 5-7. As applied to the element of fault, the record reveals no reason why the analysis
   points to any different result. If anything, the discovery record makes clear that Florida’s
   relationship to this dispute is even more tenuous than was apparent from the pleadings alone.
            The Restatement Section 145(2) Contacts. As to the first contact, “the place where the
   injury occurred”, the discovery record suggests no meaningful preference for either state’s law.
   In a case of multistate defamation, a single state is rarely the place of injury. Dkt. 171 at 8; Nix
   v. ESPN, Inc., No. 1:18-cv-22208-UU (S.D. Fla. Aug. 30, 2018), Dkt. 27 at 7-8. In such cases
   the Restatement (Second) of Conflict of Laws provides that a plaintiff corporation’s principal
   place of business and an individual’s domicile are usually the most relevant, but here none of
   those locales are in Florida. Restatement § 150 cmt. f; see Sarver v. Chartier, 813 F.3d 891, 899
   (9th Cir. 2016) (because plaintiff’s “alleged injuries would most likely have occurred in multiple
   states, ‘the place of injury will not play an important role in the selection of the state of
   applicable law’”) (quoting Restatement § 145 cmt. e) (emphasis in original).
            Moreover, Plaintiffs XBT and Gubarev have no relationship to Florida. Any connection
   to this case is limited to the fact that one Plaintiff is incorporated here, but beyond that the record
   shows Webzilla, Inc.’s “presence” is a part-time employee and a virtual maildrop. More
   importantly, the record makes clear that the principal injuries Plaintiffs are actually claiming
   “Webzilla” suffered relate to sister entities in Europe. Turning to the second and third
   Restatement factors – “the place where the conduct occurred” and “the location of the parties” –
   they favor New York for the same reasons the Court set forth previously. And the final factor,
   “the place where the parties’ relationship is centered,” is irrelevant as there is no such place.
            The Restatement Section 6 Factors. If the Court considers these factors as well, they also
   favor New York law for the same reasons this Court previously found. Defendants still face

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   another defamation suit in New York, and there too the plaintiffs deny they are public figures.
   See Dkt. 165-1 at 5-6. Most importantly, like the fair report privilege, New York’s gross
   irresponsibility standard “exist[s] to protect speakers, not to provide Plaintiffs a remedy.” Dkt.
   171 at 9-10; see Tzougrakis v. Cyveillance, Inc., 145 F. Supp. 2d 325, 329 (S.D.N.Y. 2001)
   (“gross irresponsibility” was adopted by the New York Court of Appeals in order “to protect the
   first amendment rights of newspaper publishers”). New York courts often refer to gross
   irresponsibility as a “qualified privilege” or “constitutional privilege” held by members of the
   media. See, e.g., Karaduman v. Newsday, Inc., 51 N.Y.2d 531, 537 (1980). The standard
   focuses on the steps undertaken by the Defendants leading up to publication, almost all of which
   took place in and/or were directed from New York, while none occurred in Florida. Thus, New
   York law should apply. See Hon. Robert D. Sack, Sack on Defamation: Libel, Slander, and
   Related Problems (5th Ed. 2017) at 15-62 (“The law of the plaintiff’s domicile has little or no
   relation to [the applicable standard of fault]; the law of the defendant’s domicile does.”).
                      2.          Publishing the Dossier Was Not “Grossly Irresponsible”
            New York law requires that “where the content of the article is arguably within the
   sphere of legitimate public concern…the party defamed…must establish by a preponderance of
   the evidence, that the publisher acted in a grossly irresponsible manner without due consideration
   for the standards of information gathering and dissemination ordinarily followed by responsible
   parties.” Chapadeau, 38 N.Y.2d at 199. Gross irresponsibility is an “extremely high bar for a
   Plaintiff to meet.” Cottrell v. Berkshire Hathaway, Inc., 8 Misc. 3d 564, 568 (N.Y. Sup. Ct.
   2004). As a result, beginning with Chapadeau itself, New York courts frequently grant
   summary judgment on the element of gross irresponsibility. See, e.g., Chaiken v. VV Publ’g
   Corp., 119 F.3d 1018, 1032 (2d Cir. 1997); Konikoff v. Prudential Ins. Co., 234 F.3d 92, 106 (2d
   Cir. 2000); Prince v. Fox Television Stations, Inc., 137 A.D.3d 486, 488 (N.Y. App. 2016).
            Here, there can be no question that the subject-matter of the Article and Dossier is within
   the sphere of legitimate public concern. See, e.g., Gaeta v. N.Y. News, Inc., 62 N.Y.2d 340, 349
   (1984); Page v. Oath Inc., 2018 WL 1474620, at *2 (S.D.N.Y. Mar. 26, 2018). In applying the
   standard New York courts have emphasized that no single set of factors determines gross
   irresponsibility, and so “[t]he exact parameters of the Chapadeau concept of recklessness can be
   divined, of course, only by reference to New York cases applying the standard to specific facts”,
   particularly by reference to “[t]he case[s] closest to the facts here.” Med-Sales Assocs., 663 F.

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   Supp. at 913. Crucially, New York courts recognize there is a difference between stories that
   report information about the plaintiff as objective fact, and stories which accurately report on
   investigative documents while making it clear that their underlying contents have not been
   verified. See, e.g., Konikoff, 234 F.3d 92; Crucey v. Jackall, 275 A.D.2d 258 (N.Y. App. 2000).
            The Article and Dossier fall into the latter category. While BuzzFeed had many reasons
   to trust Steele’s reports, SUMF ¶ 58, it initially refrained from publishing anything while it
   committed significant resources to investigate further. After the CNN report broke, however, it
   published the Dossier within the context of an Article about the document, explaining its
   provenance and significance, not a story purporting to establish the veracity of its contents.
            The facts here are much like those in Crucey v. Jackall. That case involved a book
   containing allegations about the plaintiff made in affidavits collected by a private investigator
   hired by several elected officials to conduct an investigation into whether a law enforcement
   official had been wrongfully convicted. 275 A.D.2d at 260 (Saxe, J., concurring). The court
   held that because “the statements at issue had their genesis in an investigation conducted by
   various elected officials…it is unequivocally clear that the defendants did not act with gross
   irresponsibility.” Id. at 258-59. A concurring opinion explained that:
            as a matter of law, that the assertions made about plaintiff in the book were
            accurate reports of the substance of the evidence obtained by the Molinari
            investigation…defendants' book does not say that the accusations contained in the
            affidavits were true or proven.
   Id. at 264 (Saxe, J., concurring). Justice Saxe further emphasized that:
            the book's challenged statements contained no assertion that was not in the source
            materials, nor did they add greater credence to the affidavits than was appropriate.
            Being “fair and accurate” reports of an investigation and the evidence it obtained,
            the challenged statements cannot logically be termed “grossly irresponsible”
            reporting.
   Id. at 266. Here too, the Article presented the Dossier much the same way the author in
   Crucey presented the investigative reports at issue there.
            The Second Circuit reached analogous conclusions in Konikoff, 234 F.3d 92. In that case,
   Prudential hired a law firm to conduct an independent investigation into allegations of real-estate
   fraud, and then released verbatim the firm’s report. Id. at 95-96. One of the appraisers it
   discussed claimed that the report and an accompanying transcript contained defamatory
   allegations about her. Id. at 96-97. The Second Circuit affirmed summary judgment in favor of


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   Prudential, finding “no indication that Prudential was grossly irresponsible in disseminating the
   statements.” Id. at 103. Important to the Court’s decision was the fact that Prudential had not
   sought to editorialize, redact, add to, or otherwise alter the law firm’s report:
            Prudential could hardly have edited the reports to omit information Prudential
            thought to be inaccurate while honoring its goal of publicly disclosing, in haec
            verba, what [the law firm] thought to be the facts. Prudential’s censorship of the
            reports, even for the purpose of sparing the reputation of third parties, would have
            undermined its justifiable objective of baring all that the investigators had to say
            about the results of their inquiry.
   Id. at 103. The same reasoning applies here.
            It also bears noting that while BuzzFeed may have been the first news organization to
   publish the Dossier, it was hardly the last. Scores of other news organizations also immediately
   began to report on it. SUMF ¶ 64. Many actually included hyperlinks to the entire document on
   BuzzFeed’s website, id., and new reports analyzing in depth various portions of the document
   continue to be published to this day. Id. Since January 10, the Dossier has also been the subject
   of extensive Congressional testimony, endless political debate, several published books, and
   remains central to the controversy over Russia and President Trump. Id. To argue that a triable
   question exists as to whether it was “grossly irresponsible” for BuzzFeed to publish the Dossier
   is to argue that the American public should still be in the dark about the contents of a Dossier
   that has driven so much of American political life for almost two years. That position would not
   reflect the “balance between the rights of private citizens to be protected against defamation and
   the constitutional guarantees of free speech and free press struck by New York courts” in
   adopting this exacting standard. Gaeta, 62 N.Y.2d at 348-49. In fact, Fusion co-founder Peter
   Fritsch, the only non-BuzzFeed journalist who has testified in this case, swore that even though
   for safety reasons he has been angry that the Dossier was published, once Smith explained to him
   that “it was a clear matter of public and national interest” to publish “given that it been briefed to
   the President and President-elect,” he changed his mind. SUMF ¶ 63. Fritsch thought “as the
   former national security editor of the Wall Street Journal, he’s [Smith’s] not wrong about that.
   We would – I would have made the exact same argument.” Id. It was not grossly irresponsible
   to publish the Dossier.
                                                 CONCLUSION
            For the reasons stated herein, Defendants respectfully request that summary judgment be
   entered for Defendants.

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                   SUBJECT TO PROTECTIVE ORDER ENTERED AUGUST 24, 2018
                                  ATTORNEYS’ EYES ONLY

   Dated: September 21, 2018          Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

            I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
   will be served electronically by email on all counsel or parties of record on the service list below
   this 21st day of September, 2018.



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